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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

January 2016 Grand Jury

UNITED STATES OF AMERICA, CR No. L&R 7 6- 03 83

Plaintiff, INDICTMENT
v. [18 U.S.C. § 1542: False Statement
in Passport Application; 18 U.S.C.
EDGAR HARO OSUNA, © § 1028A: Aggravated Identity
Theft]
- Defendant.

 

 

 

 

The Grand Jury charges:
COUNT ONE
[18 U.S.C. § 1542]

On or about June 18, 2011, in Los Angeles County, within the
Central District of California, and elsewhere, defendant EDGAR HARO
OSUNA, willfully and knowingly made a false statement in an
application for a United States passport, with intent to induce and
secure for his own use the issuance of a passport under the authority
of the United States, contrary to the laws regulating the issuance of
passports and the rules prescribed pursuant to such laws, in that, in

such application, namely application number 502057929, executed by

 

 
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defendant HARO OSUNA at a United States Post Office in San Pedro,
California, in the name of an individual with the initials J.M.E.,
defendant HARO OSUNA stated that his name was J.M.E., and that he was
born on 3-12-1973, whereas, in truth and fact, as defendant HARO |
OSUNA then knew, his name was not J.M.E., and he was not born on 3-

12-1973.

 

 
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COUNT TWO
[18 U.S.C. § 1028A]

On or about June 18, 2011, in Los Angeles County, within the
Central District of California, and elsewhere, defendant EDGAR HARO
OSUNA, knowingly transferred, possessed, and used, without lawful
authority, a means of identification that defendant HARO OSUNA knew
belonged to another person, that is, the name and birthdate belonging
to J.M.E., during and in relation to making a False Statement in
Passport Application, a felony violation of Title 18, United States

Code, Section 1542, as charged in Count One of this Indictment.

A TRUE BILL

LOL

Foreperson

EILEEN M. DECKER
United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

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H A. RHODES
Assistant United States Attorney
Chief, General Crimes Section

WILLIAM A. CROWFOOT
Assistant United States Attorney
Deputy Chief, General Crimes Section

KATHY YU
Assistant United States Attorney
General Crimes Section

 

 
